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              Certification In Support of Notice of Motion Page 1 of 2


STRAFFI & STRAFFI, LLC
670 Commons Way
Toms River, NJ 08755
(732) 341-3800
(732) 341-3548 (fax)
bkclient@straffilaw.com
Attorney for Debtor(s)


In re:                              ) UNITED STATES BANKRUPTCY COURT
                                    ) FOR THE DISTRICT OF NEW JERSEY
                                    )
                                    ) Chapter 13 proceeding
      Jones, Kimberly               ) Case No. 18-19397/VFP
                                    )
                                    ) CERTIFICATION IN SUPPORT OF
                    Debtor(s).      ) NOTICE OF MOTION FOR ORDER
                                    ) CONVERTING CASE FROM CHAPTER 13
                                    ) TO CHAPTER 11 BANKRUPTCY
                                    )
                                    ) Hearing Date: August 2, 2018 @ 11:00 am
____________________________________) ORAL ARGUMENT WAIVED



         I, Kimberly Jones, being of full age certify the following:

                1.      I am the Debtor and am fully familiar with the facts set forth herein.

                2.      I filed for relief under Chapter 13 of the Bankruptcy Code on May 8, 2018

in order to stop a sheriff sale with respect to my home and to cure outstanding tax obligations.

                3.      On May 25, 2018 the Chapter 13 Trustee filed an Opposition to Debtor’s

reorganization plan due to the debt limitations associated with a Chapter 13 filing. A copy is

annexed hereto as Exhibit “A”.

                4.      I remain committed to saving my home and reorganizing my debts.

                5.      This matter has not previously been converted.

                6.      Therefore, I respectfully request that this Court grant my Motion to

Convert to a Chapter 11.
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               7.     I certify that the foregoing statements made by me are true. I am aware

that if any of the foregoing statements made by me are false, I am subject to punishment.




                                                            /s/ Kimberly Jones
                                                            ______________________________
Dated: July 3, 2018                                         Kimberly Jones
